












Dismissed and Memorandum Opinion filed August 6, 2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00138-CV

____________

&nbsp;

NATHAN E. SCHWARTZ, Appellant

&nbsp;

V.

&nbsp;

STATE HIGH YIELD INVESTMENT MANAGEMENT CORP., INC., Appellee

&nbsp;



&nbsp;

On Appeal from the
334th District Court

Harris
County, Texas

Trial Court Cause
No. 05-27495

&nbsp;



&nbsp;

M E M O R
A N D U M O P I N I O N

This is an appeal from a judgment signed November 14, 2005.&nbsp;
On March 22, 2007, this court abated the appeal because appellant petitioned
for voluntary bankruptcy in the United States Bankruptcy Court for the Southern
District of Texas, under cause number 07-30508-M1-7.&nbsp; See Tex. R. App.
P. 8.2.&nbsp; 

Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on February
1, 2008.&nbsp; The parties failed to advise this court of the bankruptcy court
action.








On June 11, 2009, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P. 42.3(b).&nbsp;
No response was filed.&nbsp; 

Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Seymore, Brown, and Sullivan.





